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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

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                                  10    DENTAL MONITORING SAS,
                                  11                   Plaintiff,                             No. C 22-07335 WHA

                                  12            v.
Northern District of California
 United States District Court




                                  13    ALIGN TECHNOLOGY, INC.,                               ORDER RE SUMMARY JUDGMENT
                                  14                   Defendant.

                                  15

                                  16                                           INTRODUCTION

                                  17         Dueling summary judgment motions contest the validity of two of plaintiff’s patents and

                                  18    their infringement. The asserted claims of both patents recite an abstract idea and include no

                                  19    further inventive concept and are therefore invalid. Defendants’ motion is GRANTED IN PART;

                                  20    all else is DENIED AS MOOT.

                                  21                                             STATEMENT

                                  22         Dental aligners, like braces, are used to reposition a patient’s teeth. After a dental

                                  23    practitioner scans a patient’s starting dentition and determines a desired final dentition, third

                                  24    parties like defendant Align Technology, Inc. design and manufacture a series of aligners that,

                                  25    when worn in sequence, exert pressure on the patient’s teeth and thereby gradually move them

                                  26    from the starting to final dentition. Typically, a dental practitioner must visually assess a

                                  27    patient’s aligner at regular intervals to evaluate progress and determine if and when a patient

                                  28    should progress to the next aligner in the sequence, revert to a previous aligner, and so forth.
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                                   1         Defendant Align Technology, Inc., creator of the “Invisalign” group of aligner products,

                                   2    is described by plaintiff as a “dominant provider[ ] of aligner and dental treatments” (Dkt. No.

                                   3    101 at 1). Align, plaintiff says, was “caught flat-footed” when COVID-19 upended the

                                   4    “outdated approach of in-person visits” then common among dental practitioners employing

                                   5    Align’s products (ibid.). In contrast, plaintiff-patentee Dental Monitoring SAS, founded in

                                   6    2014, describes itself as a “pioneer[ ] and the technological leader in remote dentistry and

                                   7    orthodontics,” with some 200 pending and issued patents in the space (ibid.). Plaintiff now

                                   8    alleges that in defendant’s scramble to re-gain its footing and adopt COVID compatible

                                   9    methods for remote aligner treatment, it infringed upon plaintiff’s patents.

                                  10         The parties have identified two claims for summary judgment argument. First is claim 12

                                  11    (and claim 1, on which it depends) of U.S. Patent No. 10,755,409, titled “Method For

                                  12    Analyzing an Image of a Dental Arch,” which discloses a method for acquiring an image of the
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                                  13    dental arch of a patient. The invention recited in the ’409 patent claims a method for guiding a

                                  14    patient to capture images of their dental arches and aligner fit in order to facilitate remote

                                  15    treatment. Claims 1 and 12 are reproduced here:

                                  16                 1. A method for acquiring an image of a dental arch of a patient,
                                                     said method comprising the following steps:
                                  17
                                                     a) activation of an image acquisition apparatus so as to acquire an
                                  18                    image, called “analysis image,” of said arch;
                                  19                 b) analysis of the analysis image by means of a deep learning
                                                        device trained by means of a learning base;
                                  20
                                                     c) determination, for the analysis image, as a function of the result
                                  21                    of the analysis in the preceding step, of a value of an image
                                                        attribute;
                                  22
                                                     d) comparison of said image attribute value with a setpoint;
                                  23
                                                     e) sending of an information message as a function of said
                                  24                    comparison, the information message being related to the
                                                        quality of the image acquired or to the position of the
                                  25                    acquisition apparatus in relation to said arch or to the setting of
                                                        the acquisition apparatus or to the opening of the mouth or to
                                  26                    the wearing of a dental appliance, or to a combination thereof,
                                  27                 to check whether the analysis image respects the setpoint and, if it
                                                     does not respect the setpoint, to guide the operator in order for him
                                  28                 or her to acquire a new analysis image.
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                                   1                 12. The method as claimed in claim 1, in which the information
                                                     message is sent by the acquisition apparatus.
                                   2

                                   3         The second claim at issue is claim 14 (and claim 1, on which it depends) of U.S. Patent

                                   4    No. 11,049,248, titled “Method for Analyzing an Image of a Dental Arch,” which discloses a

                                   5    method for assessing the shape and fit of an orthodontic aligner by way of a “deep learning

                                   6    device, trained by means of a learning base.” The claim at issue provides as follows:

                                   7
                                                     1. A method for assessing the shape of an orthodontic aligner, said
                                   8                 method comprising the following steps:
                                   9                 a) more than 1 week after the start of the treatment with the
                                                        aligner, acquisition of at least one image at least partially
                                  10                    representing the aligner in a service position in which it is worn
                                                        by a patient, called “analysis image”, the analysis image being
                                  11                    a photograph, or an image extracted from a film;
                                  12                 b) analysis of the analysis image by means of a deep learning
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                                                        device, trained by means of a learning base, so as to determine
                                  13                    a value
                                  14                 for at least one tooth attribute of an “analysis tooth zone”
                                                        representing, at least partially, a tooth on said analysis image,
                                  15                    the tooth attribute relating to a separation between the tooth
                                                        represented by the analysis tooth zone, and the aligner
                                  16                    represented on the analysis image,
                                  17                 in the step a), a cellphone used to acquire the analysis image.
                                  18
                                                     14. The method of claim 1, in which the step b) comprises the
                                  19                 following steps:
                                  20                 1) creation of a learning base comprising more than 1000 images
                                                        of dental arches, or “historical images”, each historical image
                                  21                    representing an aligner worn by a “historical” patient and
                                                        comprising one or more zones each representing a tooth, or
                                  22                    “historical tooth zones”, to each of which, for at least one tooth
                                                        attribute relating to a separation between the tooth represented
                                  23                    by the historical tooth zone considered, and the aligner
                                                        represented, a tooth attribute value is assigned;
                                  24
                                                     2) training of at least one deep learning device, by means of the
                                  25                    learning base;
                                  26
                                                     3) Submission of the analysis image to the deep learning device
                                  27                    for it to determine at least one probability relating to:
                                  28                    the presence, in a location of said analysis image, of an
                                                                                        3
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                                                            analysis tooth zone; and
                                   1
                                                         the attribute value of the tooth represented on said analysis
                                   2                        tooth zone;
                                   3                 4) determination, as a function of said probability, of an
                                                        amplitude of said separation.
                                   4

                                   5          The parties have filed dueling summary judgment motions concerning the above claims.

                                   6    Plaintiff argues that defendant has infringed upon the claims as a matter of law. Defendant,

                                   7    meanwhile, argues that the claims are invalid under 35 U.S.C. Section 101, that they are

                                   8    invalid under 35 U.S.C. Section 112, and that, if they are valid, defendant’s products do not

                                   9    infringe. This order follows full briefing and oral argument.

                                  10                                               ANALYSIS

                                  11          A “court shall grant summary judgment if the movant shows that there is no genuine

                                  12    issue as to any material fact and that the movant is entitled to judgment as a matter of law.”
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                                  13    Fed. R. Civ. P. 56(a). “Summary judgment is appropriate only if, taking the evidence and all

                                  14    reasonable inferences drawn therefrom in the light most favorable to the non-moving party,

                                  15    there are no genuine issues of material fact.” Furnace v. Sullivan, 705 F.3d 1021, 1026 (9th

                                  16    Cir. 2013) (internal quotation marks omitted). Material facts are those that may affect the

                                  17    outcome of the suit. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–49 (1986). A genuine

                                  18    dispute about a material fact exists if there is enough evidence for a reasonable jury to find for

                                  19    the non-moving party. Ibid. “In judging evidence at the summary judgment stage, the court

                                  20    does not make credibility determinations or weigh conflicting evidence. Rather, it draws all

                                  21    inferences in the light most favorable to the nonmoving party.” Soremekun v. Thrifty Payless,

                                  22    Inc., 509 F.3d 978, 984 (9th Cir. 2007).

                                  23          Infringement requires a valid patent. This order therefore begins, and, because they have

                                  24   met their burden, ends, with defendant’s Section 101 argument.

                                  25          1.     INVALIDITY.
                                  26          Section 101 of the Patent Act defines patent eligible subject matter to include “any new

                                  27    and useful process, machine, manufacture, or composition of matter, or any new and useful

                                  28    improvement thereof.” 35 U.S.C. § 101. However, a century-old exception excludes laws of
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                                   1    nature, natural phenomena, and abstract ideas – “the basic tools of scientific and technological

                                   2    work” – from the otherwise unfettered reach of Section 101. Alice Corp. Pty. v. CLS Bank

                                   3    Int'l, 573 U.S. 208, 216 (2014). In creating the exception, the Supreme Court reasoned that

                                   4    “monopolization of those tools through the grant of a patent might tend to impede innovation

                                   5    more than it would tend to promote it.” Mayo Collaborative Servs. v. Prometheus Lab'ys, Inc.,

                                   6    566 U.S. 66, 71 (2012).

                                   7         The Supreme Court’s two-step Alice test serves to sift ineligible laws, phenomena, and

                                   8    ideas from patent-eligible subject matter. “First, we determine whether the claims are directed

                                   9    to a patent-ineligible concept, such as an abstract idea. If so, we consider the elements of each

                                  10    claim both individually and as an ordered combination to determine whether the additional

                                  11    elements transform the nature of the claim into a patent-eligible application.” Customedia

                                  12    Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1362 (Fed. Cir. 2020) (citing Mayo, 566
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                                  13    U.S. at 78-79) (cleaned up). If a claim is captured by step one and flunks step two, it is

                                  14    ineligible under Section 101. That is the case here.

                                  15                 A.      ALICE STEP ONE.
                                  16         At step one, the district court must consider the claims “in their entirety to ascertain

                                  17    whether their character as a whole is directed to excluded subject matter.” Internet Pats. Corp.

                                  18    v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015). However, “[a]t some level, all

                                  19    inventions . . . embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or

                                  20    abstract ideas. Thus, an invention is not rendered ineligible for patent simply because it

                                  21    involves an abstract concept.” Alice, 573 U.S. at 217. The district court must therefore

                                  22    “articulate what the claims are directed to with enough specificity to ensure the step one

                                  23    inquiry is meaningful.” Thales Visionix Inc. v. United States, 850 F.3d 1343, 1347 (Fed. Cir.

                                  24    2017). Where, as here, a particular technological environment is at issue, the step one inquiry

                                  25    often turns on whether the claims “focus on a specific means or method that improves the

                                  26    relevant technology” or are instead “directed to a result that itself is the abstract idea and

                                  27    merely invoke generic processes and machinery.” McRO, Inc. v. Bandai Namco Games Am.

                                  28    Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016). The claims at issue here are of the latter type.
                                                                                         5
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                                                             (i)     Claim 14 of the ’248 Patent.
                                   1
                                             This order begins with claim 14 (and claim 1, on which it depends) of the ’248
                                   2
                                        patent. Stripped of excess verbiage and techno-jargon, claim 1 is of “a familiar class of claims
                                   3
                                        directed to a patent-ineligible concept,” namely “collecting information, analyzing it, and
                                   4
                                        displaying certain results of the collection and analysis.” Electric Power Group, 830 F.3d
                                   5
                                        1350, 1353 (Fed. Cir. 2016). As the Federal Circuit explained:
                                   6
                                                     Information as such is an intangible. Accordingly, we have treated
                                   7                 collecting information, including when limited to particular content
                                                     (which does not change its character as information), as within the
                                   8                 realm of abstract ideas. In a similar vein, we have treated
                                                     analyzing information by steps people go through in their minds,
                                   9                 or by mathematical algorithms, without more, as essentially mental
                                                     processes within the abstract-idea category. And we have
                                  10                 recognized that merely presenting the results of abstract processes
                                                     of collecting and analyzing information, without more (such as
                                  11                 identifying a particular tool for presentation), is abstract as an
                                                     ancillary part of such collection and analysis.
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                                  13    Electric Power Group, 830 F.3d 1350, 1353-54 (citations omitted) (emphasis added). Here,

                                  14    too, the purported advance lies in a “process of gathering and analyzing information of a

                                  15    specified content,” here dental aligner shape and fitment, “and displaying the results, and not

                                  16    any particular assuredly inventive technology for performing those functions.” Id. at

                                  17    1354. Moreover, the patent’s specification concedes that this analysis was conventionally

                                  18    performed by an orthodontist, via in-person visual inspection or through review of patient-

                                  19    provided images (’248 patent cols. 1:11-15; 27:55-59). Claims directed to “analyzing

                                  20    information by steps people go through in their minds, or by mathematical algorithms, without

                                  21    more,” are directed to “essentially mental processes within the abstract-idea

                                  22    category.” Electric Power Group, 830 F.3d at 1354; see also Synopsys, Inc. v. Mentor

                                  23    Graphics Corp., 839 F.3d 1138 (Fed. Cir. 2016). Claim 14 details the method of training by

                                  24    which a deep learning device is applied to the task above. True, the claim describes the

                                  25    training process with a great deal of particularity, but the focus of the claim itself remains the

                                  26    abstract idea, albeit accompanied by a detailed set of instructions regarding its implementation

                                  27    in a particular technological context and field of use.

                                  28         Plaintiff’s arguments to the contrary fail.
                                                                                           6
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                                   1         First, plaintiff asserts that claim 14 is directed to “a specific technological solution: a

                                   2    first-of-its-kind, remote aligner assessment technology powered by a particular trained deep

                                   3    learning device” (Dkt. No. 112 at 3). However, the patent specification concedes that neural

                                   4    networks, the patent’s preferred species of a deep learning device, are “set[s] of algorithms

                                   5    well known to a person skilled in the art,” and simply directs practitioners to pick from any one

                                   6    of over a dozen off-the-shelf neural networks “specializing in the classification of images” or

                                   7    “in the location and detection of objects in an image” (’248 patent col. 16:5-36). Neither claim

                                   8    nor specification details a novel (or any) algorithm or otherwise discloses an improvement to

                                   9    extant deep learning devices. It is not enough to be the first to apply an abstract idea to a

                                  10    specific technological environment, such as a deep learning device. Electric Power Group,

                                  11    830 F.3d at 1354 (“Most obviously, limiting the claims to [a] particular technological

                                  12    environment . . . is, without more, insufficient to transform them into patent-eligible
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                                  13    applications of the abstract idea at their core.”). Nor is it enough to be the first to introduce

                                  14    generic neural networks or other deep learning devices to a particular field, such as dental

                                  15    aligners, without more. Ibid.

                                  16         Relatedly, plaintiff notes that the claim “provides numerous concrete benefits,” including

                                  17    greater speed, ease, and the ability to “make a quantitative measurement of the separation

                                  18    between an aligner and teeth,” as opposed to the “qualitative[ ] assess[ment]” performed by

                                  19    dental practitioners’ visual or manual inspections (Dkt. No. 112 at 2). But “[c]laiming the

                                  20    improved speed or efficiency inherent with applying the abstract idea on a computer is

                                  21    insufficient to render the claims patent eligible.” Enco Systems Inc. v. DaVincia, 845

                                  22    Fed.Appx. 953, 955 (2021) (cleaned up); see also Recentive Analytics, Inc. v. Fox Corp., No.

                                  23    CV 22-1545-GBW, 2023 WL 6122495 (D. Del. Sept. 19, 2023) (Judge Gregory Williams)

                                  24    (rejecting patentee’s attempt to distinguish “qualitative” human processing from “quantitative”

                                  25    machine learning analysis). The assertion that a computer can perceive more granular aligner

                                  26    separations than the naked eye is likewise an improvement inherent to applying the abstract

                                  27    idea on a machine learning device. This is evidenced by the claim and specification’s

                                  28    presumption that just about any off-the-shelf device will suffice.
                                                                                         7
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                                   1         But plaintiff argues more: this is a “specific deep learning device trained by the specific

                                   2    learning base of claim 14,” the first trained to perform “aligner assessment . . . for aligner

                                   3    treatment” (Dkt. No. 112 at 3) (emphasis added). As plaintiff’s counsel stated during oral

                                   4    argument, the generic neural networks listed in the specification “are architectures for products

                                   5    that can be trained, but they don’t do anything. They’re not useful until they have been

                                   6    trained” (Dkt. No. 143 at 33). The argument, then, is that the training of the generic device is

                                   7    transformative: it improves the deep learning device by allowing it to operate in a particular

                                   8    field of use, dental aligner assessment.

                                   9         While a method of training and application may conceivably constitute a “specific

                                  10    asserted improvement in [deep learning device] capabilities,” that is not the case here. Finjan,

                                  11    Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1303 (Fed. Cir. 2018) (internal quotation marks

                                  12    omitted). Here, claim 14’s method of training merely describes how a generic deep learning
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                                  13    device is applied (or limited) to a particular field of use. Neural networks specialized in the

                                  14    classification of images, as well as the location and detection of objects in an image, were well

                                  15    known in the prior art (’248 patent col. 16:5-30). These networks, by their very nature, must

                                  16    be trained before they are put to a use. (Dkt. No. 143 at 33). The claim limitations identified

                                  17    by plaintiff as “improved computer techniques” – that the images in the learning base be

                                  18    “images of dental arches,” that they represent “an aligner work by a ‘historical patient” and

                                  19    “compris[e] one or more zones each representing a tooth,” that a “tooth attribute value is

                                  20    assigned,” and so forth – are not improvements to the training or operation of deep learning

                                  21    devices, they are field-of-use limitations describing the configuration of a deep learning device

                                  22    to perform the abstract idea at issue in the field at issue.

                                  23         Alice is instructive. There, a claim drawn to the abstract idea of intermediated settlement

                                  24    required the following steps:

                                  25                  (1) “creating” shadow records for each counterparty to a
                                                      transaction; (2) “obtaining” start-of-day balances based on the
                                  26                  parties’ real-world accounts at exchange institutions; (3)
                                                      “adjusting” the shadow records as transactions are entered,
                                  27                  allowing only those transactions for which the parties have
                                                      sufficient resources; and (4) issuing irrevocable end-of-day
                                  28                  instructions to the exchange institutions to carry out the
                                                                                          8
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                                                     permitted transactions.
                                   1
                                        Alice, 573 U.S. at 224. True, the claims at issue in Alice “simply instruct[ed] the practitioner to
                                   2
                                        implement the abstract idea of intermediated settlement on a generic computer.” Ibid. But
                                   3
                                        implicit in the command to “do it on the computer” is a great deal of field-of-use specific
                                   4
                                        configuration: a computer yanked off the shelf will not create shadow records, obtain start-of-
                                   5
                                        day balances from accounts, and so on. That is true for most, if not all, “do it on a computer”
                                   6
                                        claims held invalid under Section 101. The work necessary to turn a generic computer to the
                                   7
                                        field of use at issue does not improve the computer, just as the limitation of an abstract idea to
                                   8
                                        the same field of use does not render the idea non-abstract.
                                   9
                                             Also true, claim 14 provides a great deal of particularity when disclosing how one may go
                                  10
                                        about applying the abstract idea (collecting, analyzing, and displaying information) in a
                                  11
                                        specific technological environment (a generic deep learning devices) adapted to a particular
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                                        field of use (dental aligners). But these field of use particulars are not improvements. “Do it
                                  13
                                        on a computer” is “do it on a computer,” even when a draftsman takes the time to describe the
                                  14
                                        doing in great detail. Alice, 573 U.S. 208 at 224 (“This Court has long warned against
                                  15
                                        interpreting § 101 in ways that make patent eligibility depend simply on the draftsman’s art.”)
                                  16
                                        (cleaned up). To be clear, this order does not hold that the process of re-tooling an extant
                                  17
                                        device to a field of use can never constitute patentable subject matter, only that in this instance,
                                  18
                                        the claims asserted do little more than describe the process of “doing it on a computer.”
                                  19
                                             Second, plaintiff argues that claim 14 is directed to a “specific, new treatment method of
                                  20
                                        aligner assessment,” citing to Vanda Pharms. Inc. v. W.-Ward Pharms. Int'l Ltd. 887 F.3d
                                  21
                                        1117 (Fed. Cir. 2018). Not so. In Vanda, the claim at issue recited a method for treating a
                                  22
                                        schizophrenic patient with iloperidone, which required, inter alia, “(1) determining the
                                  23
                                        patient's CYP2D6 metabolizer genotype by (a) obtaining a biological sample and (b)
                                  24
                                        performing a genotyping assay; and (2) administering specific dose ranges of iloperidone
                                  25
                                        depending on the patient's CYP2D6 genotype.” Id. at 1134. Vanda held that this constituted a
                                  26
                                        “novel method of treating a disease” that required the administration of specific dosages of
                                  27
                                        iloperidone depending on the results of a genotyping assay. Ibid. “The specification further
                                  28
                                                                                         9
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                                   1     highlight[ed] the significance of the specific dosages by explaining how certain ranges of

                                   2     administered iloperidone correlate with the risk of QTc prolongation,” and how the method

                                   3     patented resulted in treatment “safer for patients because it reduce[d] the risk of QTc

                                   4     prolongation.” Id. at 1135.

                                   5          Claim 14 gets only halfway there: it discloses a method of evaluating aligner fit, but no

                                   6     more. The claim does not disclose any novel, specific course of treatment to be carried out on

                                   7     the basis of that information. Nor does the specification. What if the aligner separation is

                                   8     0.5mm? 0.7mm? When should a patient revert to a previous aligner, or progress to the next,

                                   9     and so forth? The claim in Vanda disclosed novel answers to these questions. The claim at

                                  10     issue here does not get beyond collect, analyze, and display.

                                  11                          (ii)     Claim 12 of the ’409 Patent.
                                  12          Claim 12 of the ’409 patent, dependent on claim 1, does not fare any better. Claim 1 is
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                                  13     directed to an abstract idea: the acquisition of an image, the analysis of the contents of that

                                  14     image, and the presentation of information regarding the quality and composition of the image

                                  15     to the camera operator, intended to guide them in the acquisition of a new, better image. Claim

                                  16     12 adds only that the information message be sent by the same device taking the picture (e.g., a

                                  17     cellphone). Neither claim nor specification provides any specific algorithm or other

                                  18     improvement to the deep learning device to be used, beyond that it may be selected from any

                                  19     of a dozen or more existing options, and that it must be “trained by means of a learning base”

                                  20     (’409 patent cols. 16:15-45; 32:17-22).

                                  21          Again, this claim merely recites a common practice long performed by dental

                                  22     practitioners. The specification concedes that orthodontists “conventionally performed”

                                  23     assessments of aligner treatment via images transmitted to them by patients (’409 patent col.

                                  24     1:10-15; Dkt. No. 112 at 14). Defendant further concedes that, because “the quality and

                                  25     accuracy of photos taken by medically untrained patients were not consistent or guaranteed,” a

                                  26     dental practitioner would “review [the photos], and “[i]f a patient sent poor-quality or incorrect

                                  27     photos,” the treatment provider would “ask[ ] the patient to send new ones” (Dkt. No. 112 at

                                  28     14). Common sense dictates that the request for a new photo contained an “information
                                                                                         10
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                                   1     message” relating to the quality or composition of the subpar image, and guidance as to the

                                   2     acquisition of a better one. Moving beyond the field of dental aligners, it is beyond cavil that

                                   3     “capture, analysis, critique, recapture” is a dialogue as old as photography itself.

                                   4             Again, attempts to reframe the focus of the claim fall short. For example, plaintiff argues

                                   5     that the claimed method allows “even medically untrained patients to remotely acquire aligner

                                   6     and dental images that are suitable for clinical assessment” (Dkt. No. 112 at 16). But neither

                                   7     remote acquisition nor suitability for clinical assessment are limitations connected to the

                                   8     language of the claim. Moreover, medically untrained patients have long captured and relayed

                                   9     images of their aligners to practitioners for assessment (’409 patent col. 1:10-15). Plaintiff also

                                  10     notes that absent a deep learning device, the acquisition and analysis of patient images was a

                                  11     slower and less reliable process, but again, “[c]laiming the improved speed or efficiency

                                  12     inherent with applying the abstract idea on a computer is insufficient to render the claims
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                                  13     patent eligible.” Enco Systems, 845 Fed.Appx. at 955 (cleaned up).

                                  14             Finally, plaintiff asserts that the claim cannot involve “only generic computer elements”

                                  15     because, as conceded by defendant’s expert, “using a deep learning device to carry out image

                                  16     analysis was not part of the standard of care in aligner treatment in 2017” (Dkt. No. 112 at 16).

                                  17     This argument again presumes that the limitation of a generic computer component to a new

                                  18     field of use constitutes an improvement of the computer. As discussed above, that is not the

                                  19     case.

                                  20                    B.      ALICE STEP TWO.
                                  21             At step two we ask what more, if anything, a claim has to offer. The claim elements,

                                  22     individually or as an ordered combination, must contain an “inventive concept” or “additional

                                  23     features” sufficient to ensure that the claim, in practice, amounts to “significantly more” than a

                                  24     patent upon the ineligible abstract idea. Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 715

                                  25     (Fed. Cir. 2014) (emphasis added); Alice, 573 U.S. at 221. The object of the inquiry is the

                                  26     claim language: a district court may not rely on “technological details set forth in the patent’s

                                  27     specification and not set forth in the claims to find an inventive concept.” Intell. Ventures I

                                  28     LLC v. Symantec Corp., 838 F.3d 1307, 1322 (Fed. Cir. 2016); Two-Way Media Ltd. v.
                                                                                          11
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                                   1     Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1338 (Fed. Cir. 2017) (“To save a patent at

                                   2     step two, an inventive concept must be evident in the claims.”). The Federal Circuit has

                                   3     explained that “an inventive concept can be found in the non-conventional and non-generic

                                   4     arrangement of known, conventional pieces.” BASCOM Global Internet Servs. v. AT & T

                                   5     Mob., 827 F.3d 1341, 1350 (Fed. Cir. 2016). But, “the components must involve more than

                                   6     performance of ‘well-understood, routine, conventional activit[ies]’ previously known to the

                                   7     industry.” In re TLI Commc'ns LLC Pat. Litig., 823 F.3d 607, 613 (Fed. Cir. 2016) (quoting

                                   8     Alice, 573 U.S. at 225).

                                   9                          (i)     Claim 14 of the ’248 Patent.
                                  10          Taken alone, the elements of claim 1 invoke no more than the performance of an abstract

                                  11     idea in a particular field of use (dental aligner assessment) via generic and functional hardware

                                  12     (a deep learning device). A “deep learning device” is “preferably a neural network,” which, in
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                                  13     turn, “is a set of algorithms well known to a person skilled in the art,” including the dozen or

                                  14     so listed by the patent. The “training” of that device is not described with any specificity – the

                                  15     limitation merely commands one to “train[ ] at least one deep learning device, by means of the

                                  16     learning base” containing those 1000 plus images (’248 patent col. 34:32-33). The use of a

                                  17     “learning base,” including one “comprising more than 1000 images,” was well known at the

                                  18     time (Dkt. No. 104-4 at ¶111 – 118). The device’s method of analysis is equally opaque:

                                  19     handed an “analysis image,” the device simply “determine[s] at least one probability relating

                                  20     to: the presence in a location of said analysis image, of an analysis tooth zone; and the

                                  21     attribute value of the tooth represented on said analysis tooth zone,” after which the deep

                                  22     learning device again “determine[s], as a function of said probability, [ ] an amplitude of said

                                  23     separation.” The remaining particulars do not move the needle – they describe the process of

                                  24     aligner fit evaluation, long practiced by dental practitioners, adapted to a deep learning device.

                                  25          Plaintiff’s arguments to the contrary cut no figure. First, plaintiff argues that the

                                  26     individual elements of the claim were not well understood, routine, or conventional. Plaintiff’s

                                  27     arguments here boil down to the fact that, while the neural network architectures themselves

                                  28     were well known, there was, in July 2017, no “deep learning device trained specifically by [the
                                                                                         12
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                                   1     specific learning base in the claim] to perform the particular steps of the claimed aligner

                                   2     method” (Dkt. No. 112 at 10). Elsewhere, plaintiff contends that defendant’s cited references

                                   3     are “deficient” because they do not “disclose a deep learning device,” or the use of “a specific

                                   4     deep learning device trained by means of a specific learning base” (id. at 13). This is the “first

                                   5     to the field” argument in new guise. As explained at length above, generic computer parts and

                                   6     functions do not become patentable every time they enter a new field. Nor is applying a

                                   7     generic computer to a new field an inventive concept. Moreover, the method of training by

                                   8     which claim 14 tools a generic deep learning device for operation in the relevant field was well

                                   9     known and understood (Dkt. No. 104-4 at ¶ 111-118).

                                  10          Second, plaintiff argues that “the record is replete with evidence that the specific

                                  11     combination of claim elements provided numerous concrete benefits that simply were not

                                  12     available in July 2017” (Dkt. No. 112 at 11). Even if true, “simply appending generic
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                                  13     computer functionality to lend speed or efficiency to the performance of an otherwise abstract

                                  14     concept does not meaningfully limit claim scope for purposes of patent eligibility.” CLS Bank,

                                  15     Int'l v. Alice Corp., 717 F.3d 1269, 1286 (Fed.Cir.2013) (en banc) aff'd, 573 U.S. 208 (2014);

                                  16     see also Intell. Ventures, 792 F.3d at 1367; Bancorp Servs., LLC v., Sun Life Assurance Co. of

                                  17     Can., 687 F.3d 1266, 1278 (Fed. Cir. 2012).

                                  18          Finally, plaintiff argues that Exergen Corp. v. Kaz USA, Inc. compels a finding of patent

                                  19     eligibility because the combination of the claim’s elements was not well understood, routine,

                                  20     and conventional. 725 F. App’x 959 (Fed. Cir. 2018). Not so. In Exergen, the court reasoned

                                  21     that “[1] the inventor determined for the first time the coefficient representing the relationship

                                  22     between temporal-arterial temperature and core body temperature and [2] incorporated that

                                  23     discovery into an unconventional method of temperature measurement. As a result, the

                                  24     method is patent eligible[.]” Id. at 966. Nothing in the claim at issue discloses a discovery

                                  25     related to aligner fit assessment. A long-practiced process has simply been transposed from

                                  26     the mind to a machine.

                                  27

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                                                              (ii)    Claim 12 of the ’409 Patent.
                                   1
                                              Claim 12 also lacks an inventive concept, whether its limitations are considered in
                                   2
                                         isolation or as an ordered combination. An “image acquisition apparatus” is just about
                                   3
                                         anything with a camera attached to it, including a cellphone. An “analysis image” is “an image
                                   4
                                         . . . of a dental arch of a patient.” That image is “analyz[ed]” by means of a “deep learning
                                   5
                                         device trained by means of a learning base.” A “deep learning device” includes, but is not
                                   6
                                         limited to, more than a dozen existing neural networks. The “learning base” is the same as
                                   7
                                         above. The “analysis,” meanwhile, produces a “determination, for the analysis image, as a
                                   8
                                         function of the results of the analysis in the preceding step, of a value for an image attribute.”
                                   9
                                         The image attribute may, but need not, relate to “the orientation of the acquisition apparatus
                                  10
                                         upon acquisition of the image,” “the quality of the image,” “the dental situation of the patient,”
                                  11
                                         or “the presence or absence of a . . . orthodontic, appliance, or to the state of the opening of the
                                  12
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                                         mouth.” It is, fairly stated, just an attribute related to the image. An “information message” is
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                                  13
                                         again fairly summed up as a message containing any information related to the quality or
                                  14
                                         content of the image. Finally, the claim discloses that, if necessary, the message should “guide
                                  15
                                         the operator . . . to acquire a new analysis image.” That “guidance” is undefined, but
                                  16
                                         presumably includes anything relating to the content or quality of the analysis image. Finally,
                                  17
                                         the dependent claim adds that the cellphone or other “acquisition apparatus” that took the
                                  18
                                         “analysis image” may be used to send the “information message” (i.e., the cellphone you took
                                  19
                                         the picture with displays a message telling you how to take a better one). None of the above
                                  20
                                         constitutes an inventive concept. Nor do the various limitations that serve to limit the claim to
                                  21
                                         the field of dental aligners. Likewise, when considered in an ordered combination, these claim
                                  22
                                         limitations do not amount to significantly more than the execution of an abstract idea by means
                                  23
                                         of generic computer components.
                                  24
                                              Plaintiff’s contrary arguments re-tread unproductive ground. It is not enough that a deep
                                  25
                                         learning device had not previously been turned to the field of dental aligners. And as before,
                                  26
                                         the training of the device for use in that field does not constitute a sufficient inventive concept.
                                  27

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                                   1                                             CONCLUSION

                                   2          Claim 14 and underlying independent claim 1 of U.S. Patent No. 11,049,248 B2 recite an

                                   3     abstract idea without an inventive concept and thus, under Alice, rate as invalid under 35

                                   4     U.S.C. Section 101. The came is true for claim 12 and independent claim 1 of U.S. Patent No.

                                   5     10,755,409 B2. To the extent above, defendant’s motion is GRANTED.

                                   6          Because the claims at issue are invalid, this order need not reach the question of written

                                   7     description or infringement. The remainder of the parties’ motions are DENIED AS MOOT.

                                   8          As to next steps, the Court has reviewed defendant’s pending motion to stay, and

                                   9     understands that plaintiff intends to file an opposition, but has not yet done so (Dkt. No. 150).

                                  10     The Court will come to the issue when it has been fully briefed.

                                  11

                                  12          IT IS SO ORDERED.
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 United States District Court




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                                  14     Dated: May 16, 2024

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                                                                                                 WILLIAM ALSUP
                                  17                                                             UNITED STATES DISTRICT JUDGE
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